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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




                                                 )
GRACE, et al.,                                   )
                                                 )
                          Plaintiffs,
                                                 )
           v.                                    )
JEFFERSON BEAUREGARD SESSIONS, III,              ) No. 1:18-cv-01853 (EGS)
Attorney General of the United States, et al.,   )
                                                 )
                          Defendants.
                                                 )
                                                 )




                   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                 MOTION FOR STAY PENDING A POSSIBLE APPEAL
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       Defendants’ motion for a partial stay of the Court’s permanent injunction pending a

possible appeal should be denied. “[A]n ‘injunction pending appeal is an extraordinary

remedy,’” and Defendants have failed to meet their heavy burden here. Standing Rock Sioux

Tribe, et al. v. U.S. Army Corps of Engineers, et al., No. CV 16-1534 (JEB), 2017 WL 1402139,

at *1 (D.D.C. Mar. 14, 2017). See Stay Mot., at 1 (citing Standing Rock Sioux Tribe, 2017 WL

1402139, at *1).

       In considering a request for a stay pending appeal, and as Defendants’ own authority

emphasizes, “the critical factor” is whether the moving party is likely to succeed on the merits.

Id.; see also Nken v. Holder, 556 U.S. 418, 434 (2009) (likelihood of success and irreparable

injury are “critical” and “[i]t is not enough that the chance of success on the merits be better than

negligible”) (internal quotation marks omitted). Here, because if Defendants decide to appeal,

they are unlikely to succeed on the merits, and because the balance of equities strongly favors

Plaintiffs, Defendants’ motion should be denied.

       1. Defendants’ contention that in an 8 U.S.C. § 1252(e)(3) action, the Court lacks

authority to enjoin the operation of any expedited removal policy beyond its application to the

Plaintiffs themselves, see Stay Mot. at 1-3, is incorrect and has already been considered and

rejected by this Court. In its Memorandum Opinion, the Court states:

   [D]uring oral argument, the government argued that even if the Court has the authority to
   issue an injunction in this case, it can only enjoin the policies as applied in plaintiffs’
   cases under section 1252(f). See Oral Arg. Hr’g Tr., ECF No. 102 at 63. In other words,
   according to the government, the Court may declare the new credible fear policies
   unlawful, but DHS may continue to enforce the policies in all other credible fear
   interviews. To state this proposition is to refute it. It is the province of the Court to
   declare what the law is, see Marbury v. Madison, 5 U.S. 137, 177 (1803), and the
   government cites no authority to support the proposition that a Court may declare an
   action unlawful but have no power to prevent that action from violating the rights of the
   very people it affects.




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Op. at 100. The conclusion that the Court clearly has authority to vacate and enjoin unlawful

expedited removal policies in a § 1252(e)(3) action is reinforced by the nature of the action itself:

a systemic challenge to expedited removal. See, e.g., Op. at 97-98. Defendants’ argument that

Congress authorized a systemic legal challenge to expedited removal policies but intended to

deny the Court power to enjoin the very policies found unlawful, is implausible and unsupported.

       As the Court further held, Defendants’ argument is also inconsistent with the APA, which

clearly authorizes the courts to vacate and set aside unlawful agency action. See Op. at 100-01

(citing Nat’l Min. Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409-10 (D.C. Cir. 1998)

for the proposition that “We have made clear that ‘[w]hen a reviewing court determines that

agency regulations are unlawful, the ordinary result is that the rules are vacated – not that their

application to the individual petitioners is proscribed’”). See also Pl. MSJ Reply, ECF No. 92 at

39 & n.33.

       And indeed, Defendants themselves have repeatedly conceded in this case that under the

APA, the Court has power to vacate agency action found unlawful. At the hearing on Plaintiffs’

request for an emergency stay of removal, Defendants’ counsel conceded that “if the policy is

found to be unlawful . . . the policy will be set aside,” Tr., Aug. 9, 2018, at 13-14, and that “the

system or the portion of the system that they challenged would be invalidated.” Id. at 14. In

their summary judgment briefing, Defendants likewise acknowledged that, at a minimum, under

the APA the Court has power to “‘set aside [the] challenged agency action.’” ECF No. 85 at 76.

Although Defendants argued that a remand was most appropriate in their view, they conceded

that “it is settled law in this Circuit that where agency action is ‘set aside’ under the APA,” the

Court has power to “vacate[] the agency action outright.” ECF No. 85 at 77 (citation omitted).




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        Defendants’ reliance on legislative history quoted out of context does not change the

analysis, as the legislative history Defendants cite refers to 8 U.S.C. § 1252(f), which is

inapplicable here. See Stay Mot. at 3 (citing passage from H.R. Rep. No. 104-469(I),

“Immigration in the National Interest Act of 1995” (Mar. 4, 1996)). The language Defendants

rely on explains that “single district courts or courts of appeal do not have authority to enjoin

procedures established by Congress to reform the process of removing illegal aliens from the

U.S.,” and that only the Supreme Court can enjoin the new “legislation” enacted by Congress –

which plainly describes 8 U.S.C. § 1252(f). H.R. Rep. No. 104-469(I) (emphasis added). As

this Court explained: “section 1252(f) only applies when a plaintiff challenges the legality of

immigration laws and not, as here, when a plaintiff seeks to enjoin conduct that violates the

immigration laws.” Op. at 101. Moreover, there is nothing in 1252(e)(3) – the jurisdictional

provision at issue here – that supports Defendants’ argument that government policies found to

be illegal must remain in place pending decision by “a higher court.” See Mot. for Stay at 3

(arguing that this Court’s decision invalidating the new policies should not be implemented until

“a higher court reviews this Court’s decision, or the government foregoes the opportunity to seek

such review”). This Court has the power and duty to say what the law is, and nothing in the

statute requires it to defer its remedy.

        Defendants’ reliance on Am. Immigration Lawyers Ass'n v. Reno, 199 F.3d 1352 (D.C.

Cir. 2000) (“AILA”), is likewise misplaced. Stay Mot. at 4-5. The passage relied upon by

Defendants addresses a third party standing argument raised by plaintiff organizations,

concluding that only affected individuals had standing to sue. See AILA, 199 F.3d at 1359. That

conclusion is inapposite here. The Court nowhere held that § 1252(f) applied to restrict relief in




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§ 1252(e)(3) actions. To the contrary, the Court did not address the scope of available remedies

because the Court denied the individual Plaintiffs’ claims on the merits.

       Ultimately, the government still has no remotely coherent explanation for the scheme it

proposes. Congress established a specific provision governing “[c]hallenges on validity of the

system.” 8 U.S.C. § 1252(e)(3). But in the government’s view no systemic remedy is available

until the Supreme Court weighs in—which, of course, it might never do. That makes no sense

and would do violence to the systemic review system Congress contemplated and established.

       2. Defendants assert that equitable principles weigh against the nationwide vacatur of the

policies held unlawful by this Court. Stay Mot. at 4. But consistent with the well-settled rule in

APA cases and Defendants’ concessions, courts routinely vacate unlawful agency action on a

nationwide basis. See, e.g., Nat’l Min. Ass’n, 145 F.3d at 1409-10; Owner-Operator Indep.

Drivers Ass’n v. Fed. Motor Carrier Safety Admin., 656 F.3d 580, 589 (7th Cir. 2011); Earth

Island Inst. v. Ruthenbeck, 490 F.3d 687, 699 (9th Cir. 2007), rev’d on other grounds, Summers

v. Earth Island Inst., 555 U.S. 488 (2009).

       Indeed, when, as here, an agency’s illegal policies would irreparably injure thousands of

people at once, it is entirely appropriate to vacate the policies across the board. Trump v. Int’l

Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017) (explaining that the scope of an

injunction requires “an equitable judgment” that accounts for “the interests of the public at

large”); Kansas v. Nebraska, 135 S. Ct. 1042, 1053 (2015) (similar). A “systemwide impact”

demands a “systemwide remedy.” Lewis v. Casey, 518 U.S. 343, 359-60 (1996).

       3. Here, the balance of equities clearly favors denying a stay, and vacatur of the unlawful

policies. As this Court’s Memorandum Opinion held,

   [t]he balance of the hardships weighs in favor of plaintiffs since the “[g]overnment
   ‘cannot suffer harm from an injunction that merely ends an unlawful practice.” R.I.L.-R.,

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   80 F. Supp. at 191 (citing Rodriguez, 715 F.3d at 1145). And . . . of course, “[t]he public
   interest is served when administrative agencies comply with their obligations under the
   APA.” Id. (citation omitted). Moreover, as the Supreme Court has stated, “there is a
   public interest in preventing aliens from being wrongfully removed, particularly to
   countries where they are likely to face substantial harm.” Nken v. Holder, 556 U.S. 418,
   436 (2009).

Op. at 106. Defendants are thus incorrect that an injunction “by definition” harms the

government. Stay Mot. at 6.

       Defendants are also incorrect in asserting that the Court may not consider harms to third

parties in weighing the balance of harms. The third stay factor requires the Court to consider

whether “others will be harmed if the court grants the stay.” See, e.g., Loving v. I.R.S., 920 F.

Supp. 2d 108, 111 (D.D.C. 2013) (considering, in the course of weighing harms to “others,” that

“if the injunction is stayed, then all [tax] preparers are faced with a Hobson’s choice”) (emphasis

added). Here, granting the stay would mean that countless noncitizens already present in the

United States who are awaiting credible fear interviews or immigration judge review hearings

would be subject to unlawful credible fear policies. It would also mean that some noncitizens

could be erroneously removed because of those same unlawful policies. These harms further

weigh against granting Defendants’ request.

       4. Neither does Defendants’ conclusory assertion that vacatur would cause disruption

justify a stay. The policies at issue were announced just months ago. Cf. Children’s Hosp. Ass’n

of Tex. v. Azar, 300 F. Supp. 3d 190, 211 (D.D.C. 2018) (concluding that vacating a rule nine

months after it became effective would be unlikely to have “disruptive consequences”). Credible

fear adjudicators have had years of experience issuing determinations under the well-settled

standards that pre-dated the challenged policies. Cf. Humane Soc’y of the U.S. v. Jewell, 76 F.

Supp. 3d 69, 137 (D.D.C. 2014) (explaining that reinstating prior regime mitigates disruption

from vacatur).

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       Indeed, an injunction against the unlawful policies would preserve the status quo ante

while any appeal were pending. As this Court held, the unlawful policies represented a

significant departure from prior agency policy in numerous respects. See, e.g., Op. at 65 & n.17;

74; 91 n.26; 57 n.13. See also, e.g., Loving., 920 F. Supp. 2d at 112 (explaining that where

enjoined regulations “work a substantial change,” preservation of the status quo ante “would

counsel in favor of denying a stay” pending appeal).

                                              ***

       In sum, Defendants have provided no reason to take the extraordinary step of issuing a

stay pending a possible appeal. Accordingly, the Court should deny the stay request.




   Dated: January 2, 2018                            Respectfully submitted,
                                                        Respectfully submitted,

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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




                                                         )
 GRACE, et al.,                                          )
                                                         )
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             v.                                          )
 JEFFERSON BEAUREGARD SESSIONS, III,                     ) No. 1:18-cv-01853 (EGS)
 Attorney General of the United States, et al.,          )
                                                         )
                            Defendants.
                                                         )
                                                         )




                   [PROPOSED] ORDER DENYING DEFENDANTS’
                  MOTION FOR STAY PENDING POSSIBLE APPEAL


       Having considered Defendants’ motion for a stay pending a potential appeal and briefing

in support, as well as Plaintiffs’ opposition thereto, the Court hereby DENIES the motion.

       IT IS SO ORDERED.



 Dated: _________________                         __________________________

                                                  Hon. Emmet G. Sullivan
                                                  United States District Judge
